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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                      §
AMERICA,                                           §
                                                   §
        Plaintiff and Counter-Defendant,           §
                                                   §
and                                                §
                                                   §
WAYNE LAPIERRE,                                    §
                                                   §
        Third-Party Defendant,                     §
                                                   §
v.                                                 §            Case No. 3:19-cv-02074-G
                                                   §
ACKERMAN MCQUEEN, INC.,                            §
                                                   §
        Defendant and Counter-Plaintiff,           §
                                                   §
and                                                §
                                                   §
MERCURY GROUP, INC., HENRY                         §
MARTIN, WILLIAM WINKLER,                           §
MELANIE MONTGOMERY, and                            §
JESSE GREENBERG,                                   §
                                                   §
        Defendants.                                §

                      DEFENDANTS’ APPENDIX IN SUPPORT OF
                 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

        Defendants, Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William

Winkler, Melanie Montgomery, and Jesse Greenberg, offer the following evidence in support of

Defendants’ Motion to Dismiss for Failure to State a Claim (doc. 28):




DEFENDANTS’ APPENDIX IN SUPPORT OF
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 Tab          Description                                                Page Nos.

 1.           Printout of homepage from Ackerman McQueen’s website       4–7
              available at http://www.am.com

 2.           Printout of timeline from Ackerman McQueen’s homepage      8 - 25

 3.           Printout of “Team” page from Ackerman McQueen’s            26
              website, available at https://www.am.com/our-team/

 4.           Printout of “Gallery” page from Ackerman McQueen’s 27 - 30
              website, available at https://www.am.com/gallery

 5.           Compilation of references to NRA “legacy” projects on 31 - 33
              “Gallery” page from Ackerman McQueen’s website

      Dated: November 15, 2019.

                                           Respectfully submitted,

                                           /s/ Brian Vanderwoude
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                                           ATTORNEYS FOR DEFENDANTS
                                           ACKERMAN MCQUEEN, INC., MERCURY
                                           GROUP, INC., HENRY MARTIN, WILLIAM
                                           WINKLER, MELANIE MONTGOMERY, and
                                           JESSE GREENBERG

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2019, I filed the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas. I hereby certify that I have served

the document on all counsel and/or pro se parties of record by a manner authorized by Federal

Rules of Civil Procedure 5(b)(2).

                                              /s/ Brian Vanderwoude
                                              J. Brian Vanderwoude, Esq.




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           dedication to owned storytelling.



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